       CASE 0:11-cr-00228-MJD-JJK             Doc. 138   Filed 12/06/11     Page 1 of 1




                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


United States of America,                                          Crim. No. 11-228 (MJD/JJK)

                       Plaintiff,

v.

(3) Patrick Joseph Kiley, also known as Pat                         ORDER
Kiley;

                       Defendant.


David J. MacLaughlin, Esq., and Tracy L. Perzel, Esq., Assistant United States Attorneys,
counsel for Plaintiff.

David E. Zins, Esq., Attorney at Law, and H. Nasif Mahmoud, Esq., McKenzie, Wilkes &
Mahmoud, counsel for Defendant.


       The above matter comes before the Court upon the Report and Recommendation of

United States Magistrate Judge Jeffrey J. Keyes dated November 10, 2011. No objections have

been filed to that Report and Recommendation in the time period permitted. Based on the

Report and Recommendation of the Magistrate Judge, on all of the files, records, and

proceedings herein, the Court now makes and enters the following Order.

       IT IS HERERBY ORDERED that:

       1.     Attorney H. Nasif Mahoud is not disqualified at this time.



Date: December 6, 2011
                                                           s/Michael J. Davis
                                                           MICHAEL J. DAVIS
                                                           Chief Judge
                                                           United States District Court
